            Case 2:08-cr-00562-WBS Document 417 Filed 10/07/15 Page 1 of 3


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 6 Attorneys for Plaintiff
   United States of America
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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                 CASE NO. 2:08-CR-562-06 WBS
12                             Plaintiff,      STIPULATION AND [PROPOSED] ORDER
                                               REGARDING BRIEFING SCHEDULE ON
13                        v.                   DEFENDANT’S MOTION FOR SENTENCING
                                               REDUCTION
14   JOSE ANTONIO OJEDA CABADA,
15                             Defendant.
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      STIPULATION REGARDING BRIEFING            1
30    SCHEDULE ON DEFENDANT’S MOTION
             Case 2:08-cr-00562-WBS Document 417 Filed 10/07/15 Page 2 of 3


 1                                              STIPULATION

 2          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 3 through defendant’s counsel of record, stipulate and agree that the briefing schedule for defendant’s

 4 motion to reduce his sentence should be reset according to the following schedule:

 5                         Government’s Opposition:      October 19, 2015

 6                         Defendant’s Reply:            November 2, 2015

 7

 8          IT IS SO STIPULATED.

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                                                            BENJAMIN B. WAGNER
10                                                          United States Attorney
11 Dated: October 6, 2015
                                                            /s/ JASON HITT
12                                                          JASON HITT
                                                            Assistant United States Attorney
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14

15 Dated: October 6, 2015                                   /s/ JOHN BALAZS, Esq.
                                                            JOHN BALAZS, Esq.
16                                                          Counsel for Defendant, authorized to sign for Mr.
                                                            Balazs on October 6, 2015
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      STIPULATION REGARDING BRIEFING                    2
30    SCHEDULE ON DEFENDANT’S MOTION
            Case 2:08-cr-00562-WBS Document 417 Filed 10/07/15 Page 3 of 3


 1                                                 ORDER

 2         Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:

 3         The briefing schedule on defendant=s motion for a sentence reduction is

 4 revised as follows:

 5                       Government’s Opposition:      October 19, 2015

 6                       Defendant’s Reply:            November 2, 2015

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 8          IT IS SO ORDERED.

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     Dated: October 7, 2015
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      STIPULATION REGARDING BRIEFING
30    SCHEDULE ON DEFENDANT’S MOTION
